Case 1:20-cr-00389-RM Documenti0 Filed 12/23/20 USDC Colorado Page 1 of 2

AO 455 (Rev. 01/09) Waiver of an Indictment

 

UNITED STATES DISTRICT COURT

for the
District of Colorado

United States of America
Vv.
1. LOUELLA GALLANT,

Case No. 20-cr-00389-RM

 

Nee ee ee Ne”

Defendant

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.

Date: 12/23/2020

 

Defendant's signature

Themar a Goch

 

Signature of defehdant 's attorney

Thomas E. Goodreid

 

Printed name of defendant’s attorney

 

Judge's signature

 

Judge's printed name and title
Case 1:20-cr-00389-RM

      

Document 10 Filed 12/23/20 USDC Colorado Page 2 0
